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 8                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                               EASTERN DIVISION
10
11   PENNY MARIE COLLINS,            )                  CASE NO.: EDCV17-02348-SK
                                     )
12                     Plaintiff,    )                  [PROPOSED] ORDER AWARDING
                                     )                  EAJA FEES
13               v.                  )
                                     )
14   ANDREW SAUL1, Commissioner of )
     Social Security Administration, )
15                                   )
                       Defendant.    )
16   ______________________________ )
17          Based upon the parties’ Stipulation for Award and Payment of Equal Access
18   to Justice Act (EAJA) Fees (“Stipulation”),
19          IT IS ORDERED that Plaintiff shall be awarded attorney fees under the
20   Equal Access to Justice Act, ("EAJA”) in the amount of TWO THOUSAND
21   FOUR TWENTY-EIGHT HUNDRED DOLLARS and 73/cents ($2,428.73), as
22   authorized by 28 U.S.C. § 2412 (d), and subject to the terms and conditions of the
23   Stipulation.
24          DATED: June 19, 2019         __________________________________
                                         HONORABLE STEVE KIM
25                                       UNITED STATES MAGISTRATE JUDGE
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              Andrew Saul is now the Commissioner of the Social Security Administration. Pursuant
28   to Rule 25(d) of the Federal Rules of Civil Procedure, Andrew Saul should be substituted for
     Acting Commissioner Nancy A. Berryhill as the defendant in this suit. No further action needs to
     be taken to continue this suit by reason of the last sentence of section 205(g) of the Social
     Security Act, 42 U.S.C. § 405(g).

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